AKRON RUBBER MOULD &amp; MACHINE CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Akron Rubber Mould &amp; Mach. Co. v. CommissionerDocket No. 11838.United States Board of Tax Appeals12 B.T.A. 1252; 1928 BTA LEXIS 3375; July 10, 1928, Promulgated *3375 Held that the petitioner comes within the scope of section 327 of the Revenue Act of 1918.  L. F. Loux, Esq., for the petitioner.  J. L. Backstrom, Esq., for the respondent.  TRAMMELL*1252  This is a proceeding for the redetermination of a deficiency in income and profits taxes for the calendar year 1919 in the amount of $2,012.39.  The hearing was limited and confined under Rule 62(b) to the trial of the issue as to whether the petitioner is entitled to have its tax determined under section 328 of the Revenue Act of 1918.  FINDINGS OF FACT.  The petitioner is an Ohio corporation having its principal place of business at Akron.  It is engaged in the business of manufacturing machines designed for use in the rubber industry and especially machines for the construction of tire skid molds, tire core molds, and similar machinery.  The business was started on or about December 24, 1909, which is the date of the incorporation of the petitioner.  The founders of the petitioner corporation were machinists who were not familiar with accounting methods or practice.  One of the organizers kept the books for a period of years.  At the time of*3376  the organization of the petitioner corporation its main business was that of the manufacture of plain tire molds and cores.  Soon after its organization the nonskid tread came into *1253  use and rapidly superseded the older or "plain tread" tires.  At first the nonskid mold formed a small proportion of the petitioner's business, but as the demand increased, the petitioner was forced to meet it and to produce the nonskid tread molds.  The petitioner carried on experimental work in connection with the development of nonskid mold-cutting machines from about 1909 until 1916.  The aim of the petitioner was to develop a machine which would cut molds of any design of tread with but minor changes of jigs.  This machine was finally developed after five or six years of experimentation.  The petitioner was a pioneer in this field.  These machines so developed were a material income-producing factor in the petitioner's business during the taxable year and no part of the cost thereof was included in invested capital.  The petitioner did not capitalize any of its expenditures in connection with this experimental and development work, but charged all expenditures in that connection to*3377  expense.  While it can not be determined with any degree of accuracy, the amount actually expended in this connection was somewhere between $50,000 and $75,000.  The petitioner also constructed machinery and parts and also additions to its plant, furnishing its own labor, machinery and equipment.  The cost of such labor, parts, and machinery used in the construction of such machines and parts and additions to plant were treated by the petitioner as expense items rather than as capital expenditures.  Plumbing, wells, materials furnished from petitioner's shop, freight charges, heating-plant equipment and installation, electric-light fixtures and installation and other similar fixtures were charged to expense.  The petitioner capitalized only such machinery and equipment and additions to plant as it purchased and had been invoiced to it.  An inventory was taken periodically of the various kinds of property and assets owned by the petitioner.  Only invoiced goods were considered in such inventory, no amount being included on account of labor necessary for the construction of any machines or parts or additions to plant.  This inventory of assets was written down for the purpose of*3378  showing values that might have been realized in case the petitioner ceased business operations.  As a result of the methods of accounting adopted the fixed assets of the petitioner were not correctly reflected on its books.  Capital expenditures to a material extent were intermingled with expense items so that a substantially accurate allocation could not at this time be made.  OPINION.  TRAMMELL: The question here for decision is whether the petitioner is entitled to have its tax determined as provided in section 328 of the Revenue Act of 1918.  *1254  The petitioner developed a machine as the result of several years of experimentation and development work, which would cut molds of any design of tread with but minor changes of jigs.  If proper methods of accounting had been followed, so that the cost of this experimentation and development work could be capitalized, it would have been included in invested capital under the provisions of section 326.  The machine so developed was a material income-producing factor in the petitioner's business.  It was a capital asset of material value which due to the methods of accounting followed could not be included in invested capital. *3379  While the witnesses testified that some $50,000 to $75,000 was spent in developing this machine, it could not be determined with any degree of accuracy what the amount was.  It also appears that the petitioner made additions to its plant, built machines and installed other machines which it had bought from outside sources and expended considerable sums in installing them and also in installing other equipment and machines, no part of which expenditures was capitalized, and on account of the methods of bookkeeping followed such expenditures could not be segregated from other expenditures with a sufficient degree of accuracy to permit any specific amount with respect thereto to be included in invested capital.  We think that on account of the above-mentioned facts and circumstances the invested capital of the petitioner can not be determined under the provisions of section 326 of the Revenue Act of 1918, and that the petitioner comes within the meaning of section 327(a) of the Revenue Act of 1918, and is entitled to have its tax assessed under the provisions of section 328.  Further proceedings will therefore be had under the provisions of Rule 62(c) and the case will be restored*3380  to the calendar for further proceedings in due course.  